                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE

 GREG ADKISSON, et al.,                      )
        Plaintiffs,                          )
 v.                                          )     No. 3:13-CV-00505-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )     Lead case consolidated with
 _________________________________________   )
 KEVIN THOMPSON, et al.,                     )
        Plaintiffs,                          )
 v.                                          )     No. 3:13-CV-00666-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )
 JOE CUNNINGHAM, et al.,                     )     as consolidated with
        Plaintiffs,                          )
 v.                                          )     No. 3:14-CV-00020-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )___________________________________
 BILL ROSE,                                  )
        Plaintiff,                           )
 v.                                          )     No. 3:15-CV-00017-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )
 CRAIG WILKINSON, et al.,                    )
        Plaintiffs,                          )
 v.                                          )     No.: 3:15-CV-00274-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )
 ANGIE SHELTON, as wife and next of kin      )
 on behalf of Mike Shelton, et al.,          )
        Plaintiffs,                          )
 v.                                          )     No.: 3:15-CV-00420-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )
 JOHNNY CHURCH,                              )
        Plaintiff,                           )
 v.                                          )     No.: 3:15-CV-00460-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )




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 DONALD R. VANGUILDER, JR.,                  )
        Plaintiff,                           )
 v.                                          )   No. 3:15-CV-00462-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )
 JUDY IVENS, as sister and next of kin,      )
 on behalf of JEAN NANCE, deceased,          )
        Plaintiff,                           )
 v.                                          )   No. 3:16-CV-00635-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )
 PAUL RANDY FARROW,                          )
        Plaintiff,                           )
 v.                                          )   No. 3:16-CV-00636-TAV-HBG
 JACOBS ENGINEERING GROUP, INC.,             )
        Defendant.                           )
 _________________________________________   )



               BRIEF IN SUPPORT OF JACOBS’ RENEWED MOTION
        FOR JUDGMENT AS A MATTER OF LAW, OR IN THE ALTERNATIVE,
       MOTION FOR A NEW TRIAL BASED ON AN ERRONEOUS VERDICT




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                              INTRODUCTION & BACKGROUND

        In the Phase I trial of Plaintiffs’ negligence claims, Plaintiffs attempted to twist this case

 into something it is clearly not—a toxic tort action in which a defendant allegedly caused plaintiffs’

 exposure to a dangerous substance. But Plaintiffs could not, and did not, argue that Jacobs either

 caused the Kingston spill or was responsible for the presence of fly ash at the Kingston Site. After

 all, Jacobs contracted with the Tennessee Valley Authority (“TVA”) to assist in the challenging

 task of cleaning up the Site after the damage was done. Nor could Plaintiffs argue that Jacobs had

 a duty to prevent them from being exposed to fly ash at the Kingston Site entirely; it is undisputed

 that Plaintiffs faced unavoidable exposure to some amount of fly ash due to the nature of the clean-

 up and remediation project. The text of the Site Wide Safety and Health Plan (“SWSHP”), which

 governed Jacobs’ services in connection with the clean-up, makes that clear.

        Nevertheless, Plaintiffs tried to prove general causation at trial by suggesting that fly ash,

 as a theoretical matter, is capable of causing certain illnesses. Plaintiffs’ counsel told the jury:

 “All we have to show by a preponderance of the evidence is that the exposure is capable of causing

 the illnesses from which the Plaintiffs suffer.” [Tr. at 2948–49.] But if that theory was correct,

 Jacobs could have become liable for negligence the instant it signed a contract with the TVA.

 What Plaintiffs needed to prove—but never even attempted to prove—was that Jacobs’ conduct

 was capable of causing Plaintiffs’ alleged injuries. In other words, as the Court explained well

 before trial, Plaintiffs were required to prove in Phase I “whether defendant’s breach[es] [were]

 capable of causing plaintiffs’ alleged injuries.” [Doc. 136 at 7 (emphasis added).]

        Plaintiffs argued to the jury that Jacobs was negligent in six ways, by allegedly:

 (1) manipulating or tampering with air monitoring systems; (2) not informing TVA officials of

 complaints regarding health problems due to fly ash; (3) failing to comply with SWSHP provisions

 regarding the voluntary use of dust masks; (4) threatening workers who asked for dust masks or
                                                   1

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 respirators; (5) communicating to workers that fly ash was safe to consume; and (6) failing to train

 or warn workers about the dangers of excessive fly ash exposure. Yet Plaintiffs never tied any of

 these theories to the alleged injuries Plaintiffs suffered. Their failure to present any evidence on

 the necessary element of general causation warrants judgment in Jacobs’ favor.

        But Plaintiffs’ failure to prove general causation is not the only reason that the Phase I jury

 verdict should be set aside. Based on the evidence presented at trial, no reasonable jury could have

 concluded that Jacobs violated its contractual obligations to the TVA, and thus Jacobs is immune

 from liability as a matter of law. Additionally, no reasonable jury could have found that that any

 of Jacobs’ alleged misconduct fell below the requisite professional standard of care based on the

 evidence presented at trial. Plaintiffs needed to, but did not, offer expert evidence regarding

 whether Jacobs violated any duties in carrying out various health and safety functions at the Site.

        Each of Plaintiffs’ failures of proof independently justifies judgment for Jacobs as a matter

 of law. At a minimum, the Court should order a new trial because the jury “reached a ‘seriously

 erroneous result’” on each of the questions it answered. Holmes v. City of Massillon, 78 F.3d

 1041, 1045–46 (6th Cir. 1996).

                                      LEGAL STANDARDS

        A court should grant a motion for judgment as a matter of law when “a party has been fully

 heard on an issue during a jury trial and the court finds that a reasonable jury would not have a

 legally sufficient evidentiary basis to find for the party on that issue.” Fed. R. Civ. P. 50(a)(1);

 Noble v. Brinker Int’l, Inc., 391 F.3d 715, 720 (6th Cir. 2004) (holding that judgment as a matter

 of law should be granted when, “viewing the evidence in the light most favorable to the non-

 moving party, there is no genuine issue of material fact for the jury, and reasonable minds could

 come to but one conclusion, in favor of the moving party”). Put differently, judgment as a matter

 of law is appropriate on claims that cannot be maintained under controlling law. McCarthy v.
                                                  2

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 Foltz, 1994 WL 468030, at *1 (6th Cir. Aug. 29, 1994) (per curiam). In ruling on a motion for

 judgment as a matter of law, a court must also give credence to “evidence supporting the moving

 party that is uncontradicted and unimpeached.” Reeves v. Sanderson Plumbing Prods., Inc., 530

 U.S. 133, 151 (2000). When a party has made a motion for judgment as a matter of law before the

 case has been submitted to the jury and the court does not grant that motion, the party may renew

 its motion after the jury’s verdict. Fed. R. Civ. P. 50(b).1

        Further, “where an injustice will otherwise result, [a] trial judge has the duty as well as the

 power to order a new trial” under Rule 59. Park W. Galleries, Inc. v. Hochman, 692 F.3d 539,

 549 (6th Cir. 2012) (quoting United States ex rel. SNAPP, Inc. v. Ford Motor Co., 532 F.3d 496,

 508 (6th Cir. 2008)); see also Fed. R. Civ. P. 59(a). A court may grant a new trial if the verdict is

 against the weight of the evidence, Rayford v. Ill. Cent. R.R., 489 F. App’x 1, 6 (6th Cir. 2012),

 meaning the jury reached a “seriously erroneous result,” Holmes, 78 F.3d at 1046. See also

 Mitchell v. Boelcke, 440 F.3d 300, 305 (6th Cir. 2006) (reversing denial of new trial motion in the

 “absence of any reasonable basis” to support jury’s verdict).

                                            ARGUMENT

        A.      As a Threshold Matter, Jacobs Cannot Be Liable for Negligence Because It Is
                Entitled to Derivative Governmental Immunity.

        Plaintiffs’ negligence claims fail entirely because Jacobs is immune from liability.

 Government immunity is derivative; as a result, contractors like Jacobs are shielded when the




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         As this case has proceeded through only the first part of the bifurcated trial plan, the Court
 has not entered a judgment. As a result, this Motion is appropriate and timely following the jury’s
 verdict in Phase I. Rule 50(b) provides only that renewed motion for judgment as a matter of law
 must be made “[n]o later than 28 days after entry of judgment.” See also Fed. R. Civ. P. 59(b) (“A
 motion for a new trial must be filed no later than 28 days after the entry of judgment.”). In the
 event that this case proceeds to Phase II and a judgment is entered, Jacobs reserves the right to
 renew this Motion.

                                                   3

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 government would itself be protected for the same conduct. Adkisson v. Jacobs Eng’g Grp., Inc.,

 790 F.3d 641, 645 (6th Cir. 2015). This Court has already (and correctly) determined that

 discretionary-function immunity applies to claims brought under the Federal Tort Claims Act with

 respect to the TVA’s remediation and clean-up activities subsequent to this spill. [Doc. 137 at 26.]

        Government contractors like Jacobs are entitled to immunity so long as their conduct does

 not exceed their delegated authority. Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18, 20–21

 (1940). While courts have characterized this rule in various ways, the premise remains the same:

 contractors may not be held liable if they follow the written terms of the relevant agreement, i.e.,

 if the contractor “executed the will of the government.” [Doc. 137 at 29 (citation omitted)]; see,

 e.g., In re KBR, Inc., Burn Pit Litig., 744 F.3d 326, 345 (4th Cir. 2014) (contractors must not

 exceed their “authority” and “scope of . . . employment”); Myers v. United States, 323 F.2d 580,

 583 (9th Cir. 1963) (contractors are entitled to immunity unless their work is “not in conformity”

 with their employment contract).

        Here, it was undisputed at trial that the relevant agreements—the TVA-Jacobs contract and

 the SWSHP—contain only broad guidelines. Specifically, the TVA-Jacobs contract outlines a

 series of performance objectives, but critically, it never specifies how Jacobs must go about

 achieving them. [Pl. Ex. 9 at 2.] Plaintiffs even acknowledged that the contract uses broad,

 discretionary language. [See Doc. 109 at 3–6 (discussing the “standards” Jacobs was expected to

 abide by).] Similarly, the SWSHP discusses a “comprehensive risk-based process that addressed

 all aspects of workplace safety,” [Doc. 137 at 9.] and is much longer and more detailed than the

 TVA-Jacobs contract. But it also does not specifically mandate the manner in which Jacobs should

 carry out its duties. In short, Plaintiffs offered no evidence at trial that Jacobs “exceeded” its

 delegated authority, and the jury could not have found otherwise. Yearsley, 309 U.S. at 21.



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        Accordingly, Jacobs is entitled to derivative governmental immunity as to Plaintiffs’

 negligence claims writ large. But at a minimum, no reasonable jury could have found that Jacobs

 can be liable as to at least three of Plaintiffs’ specific theories of negligence: (1) Jacobs’ alleged

 misconduct relating to the voluntary use of dust masks; (2) Jacobs’ alleged failure to adequately

 warn or train workers about fly ash; and (3) a Jacobs employee’s alleged comment that fly ash was

 safe to consume.2

                1.      Plaintiffs Did Not Prove Jacobs Violated Any Contract Provision
                        Regarding the Voluntary Use of Dust Masks.

        Plaintiffs’ contention at trial that Jacobs lost its immunity because it failed to comply with

 the SWSHP provisions regarding the voluntary use of dust masks is baseless—the SWSHP makes

 scant mention of dust masks. While the SWSHP does provide that Jacobs has a responsibility to

 select “specific types of [safety equipment] . . . after a thorough evaluation of the potential hazards

 involved for each task” and to request “[c]hanges to initial levels of protection . . . whenever site

 conditions warrant” [Def. Ex. 6 at 6-2], there is no provision governing voluntary use of dust masks

 specifically. [See id. at Att C-2-1 (providing that any worker who is provided a “respirator[] for

 [his] voluntary use” or who provides “[his] own respirator” should choose a “respirator[] certified

 for use to protect against the contaminant of concern; in the United States, NIOSH respirators”).]

        To the extent dust masks are considered respirators under the SWSHP, their use was

 permitted under the plan “with approval of the[] Supervisor” (i.e., Jacobs). [Id. at C-10.] The

 SWSHP further states that the “Site HSE Supervisor and Supervisor will evaluate requests for

 voluntary respirator,” with the assistance of “medical evaluation[s],” “to determine if the worker



  2
          On the eve of trial, Plaintiffs were pursuing 13 separate theories of how Jacobs allegedly
 violated its contract with TVA and breached its duties to Plaintiffs. [Doc. 346 at 5–7.]. During
 trial, seven were eliminated as legally insufficient. [Doc. 424, 14 Trial Tr. at 3022, 3024.]

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 can perform the activities safely and respirator use will not in and of itself create a hazard.” [Id.]

 But Plaintiffs put forth no evidence that any worker who asked for a respirator was improperly

 denied the use of one under the terms of the SWSHP.

        More generally, decisions concerning the proper response to hazardous materials, like

 Jacobs’ actions here, are routinely left to the expertise of the contractor, and accordingly are

 protected from tort liability by the discretionary-function exception. Rosebush v. United States,

 119 F.3d 438, 443 (6th Cir. 1997); see also Lockett v. United States, 938 F.2d 630, 639 (6th Cir.

 1991) (finding that the government’s response to the release of a potentially dangerous chemical,

 including doing nothing at all, fell within the discretionary-function exception); Feyers v. United

 States, 749 F.2d 1222, 1227 (6th Cir. 1984) (holding that the proper way to conduct a railyard

 safety investigation was a discretionary function).

                2.      Plaintiffs Could Not Have Proven That Jacobs Violated Any Contract
                        Provision by Failing to Train or Warn Workers About the Dangers of
                        Excessive Fly Ash Because All Related Provisions Plainly Grant Jacobs
                        Discretion.

        Plaintiffs’ failure-to-warn theory similarly fails on immunity grounds. It was undisputed

 at trial that, like the other language in the SWSHP, the provisions relevant to worker training grant

 Jacobs considerable discretion. For example, beyond training pertaining to excavation, crane

 operations, and rigging, Jacobs’ training need only “be evaluated for compliance with TVA

 requirements and industry standards.” [Def. Ex. 6 at 11-1.] Moreover, while there are specific

 training requirements regarding the number of hours necessary for certain workers (e.g., pertaining

 to hazardous waste operations), the specific content of that training is not prescribed. [Id.] The

 SWSHP merely says that project personnel must have completed some site-specific training on

 various topics, which included “potential hazards” and “risks associated with identified hazardous

 substances at the site.” [Id. at 11-2; see also id. at A-12 (noting that subcontractors must complete


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 training as required “by [the] applicable Contractor” and mentioning what that training “may”

 include).] But again, the precise substance of the trainings is not specified in the SWSHP and is

 instead left to Jacobs’ discretion.

        Plaintiffs’ attempt at trial to disparage the quality of Jacobs’ training programs is yet

 another example of their failure to recognize what evidence was necessary to satisfy their burden.

 It is well established that the government is generally protected from tort liability in deciding when

 and how to warn of potential dangers. A.O. Smith Corp. v. United States, 774 F.3d 359, 369 (6th

 Cir. 2014) (citing Edwards v. Tenn. Valley Auth., 255 F.3d 318, 324 (6th Cir. 2001)). That is

 because “the decision whether to warn of potential danger is a protected discretionary function,”

 except, perhaps, in some unusual situation not present here. Rosebush, 119 F.3d at 443. Therefore,

 what Plaintiffs needed to prove, but did not even attempt to prove, was that Jacobs’ training and

 warning activities fell outside its discretion.       Accordingly, Plaintiffs cannot defeat Jacobs’

 immunity merely because they attempted to prove its trainings and warnings were inadequate.

                3.      Plaintiffs Could Not Have Proven That Jacobs Violated Any Contract
                        Provisions When an Employee Suggested That Fly Ash Was Safe to
                        Consume.

        Furthermore, Jacobs could not have lost its immunity because one of its employees

 allegedly suggested that some amount of fly ash was safe to consume. The evidence at trial was

 undisputed that the offending statement was repeated as a joke among workers at the Site:

 Plaintiffs’ witness Robert Muse testified that Jacobs employee Thomas Bock said “that you could

 literally eat a pound of the fly ash and it wouldn’t hurt you” [Doc. 411, 1 Trial Tr. at 96], and that

 this became “the running joke of the site,” presumably because everyone knew that was not

 “literally true,” [id. at 97]. There was no evidence that any Plaintiffs relied upon Bock’s alleged

 statement, and the Court correctly granted judgment as a matter of law on Plaintiffs’ standalone

 misrepresentation claim. [Doc. 424, 14 Trial Tr. at 2907.] The same must hold true for immunity.
                                                   7

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 See, e.g., United States v. Todd, 920 F.2d 399, 403 (6th Cir. 1990) (“Under the doctrine of the law

 of the case, a decision on an issue made by a court at one stage of a case should be given effect in

 successive stages of the same litigation.”); Gibson v. Mortg. Elec. Registration Sys., Inc., 23 F.

 Supp. 3d 895, 910–11 (W.D. Tenn. 2014) (granting defendants judgment as to plaintiffs’ wrongful

 foreclosure claim because court had already determined that theory failed as a matter of law).

         B.      Even If Jacobs Were Not Immune for Its Alleged Tortious Conduct, Plaintiffs
                 Failed to Prove Their Negligence Claims.

                 Under Tennessee law, to make out a claim of negligence, Plaintiffs are required to

 prove by a preponderance of evidence: “(1) a duty of care owed by defendant to plaintiff; (2)

 conduct below the applicable standard of care that amounts to a breach of that duty; (3) an injury

 or loss; (4) cause in fact; and (5) proximate, or legal, cause.” Giggers v. Memphis Hous. Auth.,

 277 S.W.3d 359, 364 (Tenn. 2009) (quoting McCall v. Wilder, 913 S.W.2d 150, 153 (Tenn. 1995)).

 According to the Court’s bifurcation order, Phase I of the trial involved “issues and evidence” only

 as to duty of care, breach of that duty of care, and general causation (i.e., “whether defendant’s

 breach was capable of causing plaintiffs’ alleged injuries”). [Doc. 136 at 6.]

         In Phase I, Plaintiffs wrongly sought to hold Jacobs liable for any and all harms related to

 the Kingston Site spill. Plaintiffs could not, and did not, show that Jacobs owed them a duty to

 prevent against all exposure to fly ash. As to the duties Jacobs did owe to Plaintiffs—i.e.,

 compliance with the safety and health precautions of the SWSHP—Plaintiffs failed to offer any

 relevant expert proof that those duties were breached. And no reasonable jury could have found

 that Plaintiffs proved general causation, because Plaintiffs did not connect any of Jacobs’ alleged

 misconduct to any of their alleged injuries. Jacobs is thus entitled to judgment as a matter of law

 on the entirety of Plaintiffs’ case.




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                  1.    Plaintiffs Could Not Prove That Jacobs Owed a Legal Duty to Protect
                        Them Against All Exposure to Fly Ash.

        As an initial matter, Plaintiffs could not, and did not, prove at trial that Jacobs had a duty

 to prevent them from being exposed to all fly ash. Jacobs did not cause the spill, and the very

 purpose of the TVA’s Kingston Fossil Plant Ash Release Response Project was for Jacobs (and its

 employees) to remove fly ash that had spilled onto the Site. [See Def. Ex. 4 at 1-1 (listing, among

 SWSHP’s components, “dredging of ash from rivers and auxiliary water bodies,” “ash

 processing,” and “support activities . . . includ[ing] dust control, water management environmental

 sampling and site maintenance”).] If Jacobs had such a duty, it could have become liable to

 Plaintiffs merely because it contracted with the TVA to assist with the clean-up and remediation

 of the Site. After all, as the SWSHP made clear, “chemical hazards” were “found on site.” [Id.at

 4-10–11.] These hazards included fly ash from coal combustion, the “principal material to be

 processed and handled during the project.” [Id. at 4-11; see also id. at 4-12 (indicating that certain

 fly ash components could cause harmful symptoms and were suspected or confirmed human

 carcinogens).]

        Even if Plaintiffs had sought to prove that Jacobs owed a duty to protect them from

 unreasonable levels of fly ash—which Plaintiffs also did not do—that duty would have been only

 to limit Plaintiffs’ exposure to levels at or below the permissible exposure limits (“PELs”) set out

 in the SWSHP. [See Doc. 422, 13 Trial Tr. at 2785 (Plaintiffs’ counsel noted during oral argument

 that Plaintiffs “didn’t allege a breach of the PEL”).] The SWSHP indicates that exposures below

 the Site PELs were not expected to present any risk of harm to the workers, as those limits were

 typically set well below regulatory levels. [Def. Ex. 6 at K-4-2; see also id. at 4-13–21; see, e.g.,

 id. at K-2-3 (providing a chart summarizing the “Monitoring Actions” required based on various

 exposure levels).] Further, as Plaintiffs did not dispute, the SWSHP made clear that even


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 exceedances of Site PELs did not suggest workers would be at risk of harm; rather, the SWSHP

 stated only that, under such circumstances, additional evaluations should be conducted. [Def. Ex.

 6 at K-4-3 (explaining that “[i]f an Action Level is exceeded, a preliminary review will be

 conducted” and “[d]epending on the results of the preliminary review, additional sampling or

 review may be necessary, or action items recommended for review”).]

        While Jacobs could not have had a duty to prevent Plaintiffs from being exposed to fly ash

 entirely, Jacobs does not, and has never, disputed that it owed Plaintiffs duties consistent with the

 contractual obligations set out in the SWSHP. See, e.g., Grogan v. Uggla, 535 S.W.3d 864, 874

 (Tenn. 2017) (citing Restatement (Second) of Torts § 324(a)); Barron v. Emerson Russell Maint.

 Co., 2009 WL 2340990, at *8 (Tenn. Ct. App. July 30, 2009). But because Plaintiffs did not prove

 Jacobs violated those contractual obligations, see infra Section B.2; see also supra Section A,

 Jacobs is entitled to judgment as a matter of law.

                2.      Plaintiffs Failed to Offer the Necessary Expert Testimony to Prove
                        That Jacobs Breached Any Duty It Legally Owed to Plaintiffs.

        Plaintiffs did not prove that Jacobs breached any duty it did have to Plaintiffs—including

 duties relating to management, personal air monitoring, dust suppression, and/or occupational

 health and safety services as set out in the SWSHP, [see Doc. 424, 14 Trial Tr. at 3023]—not only

 because Jacobs did not breach any of the relevant contractual provisions (see supra Section A),

 but also because Plaintiffs failed entirely to present the requisite expert testimony.

        As this Court has already recognized, expert testimony was essential to this case for two

 reasons. First, well-settled Tennessee law provides that “determining whether a professional’s

 conduct complies with the applicable standard of care is beyond the common knowledge of lay

 persons,” meaning that “expert testimony is required to establish not only the applicable standard

 of care but also whether the conduct at issue fell below that standard.” Martin v. Sizemore, 78


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 S.W.3d 249, 274 (Tenn. Ct. App. 2001); see also WATCO v. Pickering Envtl. Consultants, Inc.,

 2007 WL 1610093, at *22 (Tenn. Ct. App. June 5, 2007). Tennessee courts have applied a

 professional standard of care to a wide array of functions, including environmental ones. See, e.g.,

 WATCO, 2007 WL 1610093, at *22 (environmental professionals); Chapman v. Bearfield, 207

 S.W.3d 736, 741 (Tenn. 2006) (legal professionals); Moon v. Saint Thomas Hosp., 983 S.W.2d

 225, 229 (Tenn. 1998) (medical professionals).

        Second, this jury was asked to evaluate the complicated issue whether Jacobs fell below

 the standard of care required of a contractor hired to assist with the clean up a fly ash spill,

 something lay people know nothing anything about.                 The complex nature of Jacobs’

 responsibilities is suggested by the SWSHP itself, which contains more than 300 pages of technical

 requirements that shaped Jacobs’ duties. [See generally Def. Ex. 6.] It was far from “obvious and

 readily understandable by an average layperson” what Jacobs needed (and did not need) to do to

 fulfill its professional duties of care to its workers while they undertook the difficult and inherently

 difficult job of helping the TVA clean up a fly ash spill. See Barkes v. River Park Hosp., Inc., 328

 S.W.3d 829, 833 n.2 (Tenn. 2010). Given the extremely technical nature of managing a clean-up

 Site, the jury could not use its common knowledge to determine whether alleged conduct ran afoul

 of Jacobs’ professional duties, even if, at first blush, Jacobs’ such conduct seems wrongheaded.

        Take for example, one of Plaintiffs’ theories of negligence: Jacobs’ alleged failure to train

 or warn workers about the dangers of excessive fly ash exposure. The SWSHP requires the

 training be in “compliance with TVA requirements and industry standards.” [Def. Ex. 6 at 11-1.]

 Industry standards provide a paradigmatic example of when expertise is needed to evaluate

 whether a duty has been breached. See, e.g., Powers v. Cottrell, Inc., 728 F.3d 509, 518 (6th Cir.

 2013) (recognizing “expert testimony, documents, manuals, or other sources” as means of



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 providing industry standards in a products-liability action applying Tennessee law); Ward v. City

 of Lebanon, 273 S.W.3d 628, 636 (Tenn. Ct. App. 2008) (holding that an engineering expert should

 be allowed to testify as to industry standards in a negligence action involving a gas-line explosion

 and fire); Patterson-Khoury v. Wilson World Hotel-Cherry Rd., Inc., 139 S.W.3d 281, 289 (Tenn.

 Ct. App. 2003) (upholding trial court’s admission of expert testimony on hotel-industry standards

 in a premises-liability action because “evidence of the practices of similarly situated properties

 [was] relevant to the determination of the standard of care”). It is not “obvious and readily

 understandable by an average layperson” what the industry standard is for the training of workers

 hired specifically to assist with the clean-up a toxic spill of fly ash. See Barkes, 328 S.W.3d at

 833 n.2; see also, WATCO, 2007 WL 1610093, at *22 (considering expert testimony in

 determining the parameters of the “professional standard of care for conducting environmental site

 assessments”).

        Nor does the average layperson know, for example, how one could “deliberately

 manipulate[] or tamper[] with any monitoring results or processes.” [Doc. 424, 14 Trial Tr. at

 3024.] Of course, a layperson could determine that it would be wrong to deliberately manipulate

 or tamper with air monitoring devices in order to hide toxins. But that was not what this jury had

 to decide. Here, the jury had to determine whether the alleged tapping and banging of the devices

 affected the air monitors in such a way that would alter their results. [See Doc. 418, 11 Trial Tr.

 2518–20 (testimony that tapping out the grit pot component of the personal air monitors was

 proper).] Answering that question requires a technical understanding of the air monitoring devices

 that laypersons do not possess.

        Plaintiffs’ complete failure to introduce this required expert proof compels the conclusion

 that they failed to prove their claims.



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                3.      Plaintiffs Failed to Offer Any Legally Relevant Proof Regarding
                        General Causation.

        Perhaps most significantly, Plaintiffs completely failed to prove general causation. As the

 Court previously recognized, Plaintiffs bore the burden to show that Jacobs’ allegedly tortious

 conduct caused their injuries. Adkisson v. Jacobs Eng’g Grp., Inc., --- F. Supp. 3d. ----, 2018 WL

 4494101, at *3 (E.D. Tenn. Sept. 19, 2018) (citing Bradshaw v. Daniel, 854 S.W.2d 865, 869

 (Tenn. 1993)); see also, Bain v. Wells, 936 S.W.2d 618, 624–25 (Tenn. 1997) (“[I]t is well-

 established that to recover on a claim of negligence, a plaintiff must show some reasonable

 connection between the act or omission of a defendant and the injury which the plaintiff has

 suffered.” (emphasis in original)). Accordingly, Phase I of the bifurcated trial was supposed to

 address general causation by assessing “whether defendant’s breach[es] [were] capable of causing

 plaintiffs’ alleged injuries.” [Doc. 136 at 7.]

        “[C]ausation cannot be established solely by conjecture, speculation, or surmise.” Brown

 v. Wal-Mart Stores, Inc., 1999 WL 1111514, at *4 (6th Cir. Nov. 24, 1999) (per curiam) (citing

 Toth v. Yoder Co., 749 F.2d 1190, 1196 (6th Cir. 1984)). The “mere possibility that the defendant’s

 negligence may have been the cause, either theoretical or conjectural, of [plaintiff’s injury] is not

 sufficient to establish a causal link between the two.” Am. & Foreign Ins. Co. v. Gen. Elec. Co.,

 45 F.3d 135, 140 (6th Cir. 1995) (emphasis in original) (citation omitted) (affirming a directed

 verdict). “Of all the elements necessary to support recovery . . . , causation is the most susceptible

 to summary determination.” Id. (quoting Davis v. Thorton, 180 N.W.2d 11, 15 (Mich. 1970)).

        At trial, Plaintiffs presented no evidence connecting any of Jacobs’ alleged misconduct to

 Plaintiffs’ alleged injuries. Dr. Terry—Plaintiffs’ only witness to testify about causation—never

 opined as to how any of Jacobs’ alleged tortious conduct may have been capable of causing

 Plaintiffs’ identified illnesses. In fact, Dr. Terry was (briefly) asked about just one of Plaintiffs’


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 theories of wrongdoing—“manipulation of monitoring.” Dr. Terry testified only that he had

 “reviewed” other (non-expert) witness testimony on that issue. [Doc. 420, 12 Trial Tr. at 2670.]

 Dr. Terry did not, in other words, even attempt to link the alleged manipulation of air monitoring

 results with Plaintiffs’ illnesses.

         As for Plaintiffs’ five remaining theories of wrongdoing, there is nothing whatsoever in the

 trial record that shows those alleged acts were capable of causing any of the ten listed medical

 conditions on the jury’s verdict form:

                Dr. Terry did not opine on how Jacobs’ alleged failure to “inform TVA safety
                 officials of repeated complaints regarding health problems due to fly ash” could
                 have possibly been capable of causing Plaintiffs’ alleged injuries;

                Dr. Terry did not opine on how Jacobs’ alleged failure “to comply with the
                 provisions of the safety and health plan with respect to the voluntary use of dust
                 masks” could have possibly been capable of causing Plaintiffs’ alleged injuries;

                Dr. Terry did not opine on how Jacobs’ alleged “threaten[ing of] workers when
                 they asked for dust masks or respirators,” could have possibly been capable of
                 causing Plaintiffs’ alleged injuries;

                Dr. Terry did not opine on how Jacobs’ alleged “communicat[ion] to workers that
                 fly ash was safe to consume,”3 could have possibly been capable of causing
                 Plaintiffs’ alleged injuries; and

                Dr. Terry did not opine on how Jacobs’ alleged “fail[ure] to train or warn workers
                 about the dangers of excessive fly ash exposure” could have possibly been capable
                 of causing Plaintiffs’ alleged injuries. [Doc. 424, 14 Trial Tr. at 3022, 3024.]

         Simply put, Dr. Terry provided no expert testimony regarding any connection, potential or

 otherwise, between Jacobs’ alleged wrongdoing and the harms Plaintiffs suffered (because that

 connection does not exist). This alone warrants judgment in Jacobs’ favor. See, e.g., Am. &

 Foreign Ins. Co., 45 F.3d at 140.



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         Because the Court decided that Plaintiffs had not proven their misrepresentation claim as
 to the same comment, their negligence claim based on this theory must be invalidated as a matter
 of law. See supra Section A.3.

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        Instead of proving what they needed to prove—that the “defendant’s breach[es] [were]

 capable of causing plaintiffs’ alleged injuries” [Doc. 136 at 7]—Plaintiffs treated the general

 causation element like that of a classic toxic tort case in which a defendant would be liable for any

 exposure to the toxic substance at issue. [See, e.g., Doc. 421, 7 Trial Tr. at 1500 (Dr. Terry defining

 general causation as answering the question, “[c]an this exposure cause this outcome or illness”).]

 In those cases, unlike this one, the general causation requirement looks to whether the defendant

 caused the exposure to the toxic substance in the first place, and if so, whether the substance itself

 is capable of causing a particular injury. See, e.g., Sterling v. Velsicol Chem. Corp., 855 F.2d

 1188, 1200 (6th Cir. 1988) (action against a chemical company that was “responsible for the

 contamination” caused by a leak from its landfill); Pluck v. BP Oil Pipeline Co., 640 F.3d 671,

 676–77 (6th Cir. 2011) (action against an oil company for a spill from its gas pipeline); Baker v.

 Chevron USA, Inc., 680 F. Supp. 2d 865, 874 (S.D. Ohio 2010) (action, applying Ohio law, against

 a fuel company for spills and leaks from its refinery); In re Meridia Prods. Liab. Litig., 328 F.

 Supp. 2d 791, 798 (N.D. Ohio 2004) (action against the manufacturer of an injury-causing diet

 drug). Here, it is undisputed that Jacobs was not required to prevent Plaintiffs from being exposed

 to fly ash in general. See supra Section B.1. Nor could Jacobs have even tried to: exposure to fly

 ash was part and parcel of Plaintiffs’ work at the Site.

        Indeed, before Dr. Terry testified, Plaintiffs proposed a jury instruction suggesting that it

 would be “enough for Plaintiffs to show that the amount of toxic constituents generally present in

 the coal fly ash at the Kingston site was capable of causing the complained-of diseases.” [Doc.

 353 at 8.] It is not surprising, then, that Dr. Terry’s testimony and report focused only on whether

 certain chemicals present in fly ash are capable of causing diseases that Plaintiffs claim to have

 contracted. [Doc. 421, 7 Trial Tr. at 1544 (when asked whether “exposure to coal fly ash [was]



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 capable of causing [the Plaintiffs’ alleged] conditions,” Dr. Terry responded, “I believe it is”

 (emphasis added)); see also id. at 1502–27, 1531–37; Doc. 261-1 at 5.] But that fact was never in

 dispute: the SWSHP made clear that exposure to certain constituent parts of fly ash, above certain

 levels, could possibly cause adverse symptoms.

         Further, even if Jacobs had caused the original spill and resulting exposure to fly ash,

 Plaintiffs could not have proven general causation without offering evidence regarding both (a) the

 “levels of exposure that are hazardous to human beings generally” and (b) their “actual level of

 exposure.” Mitchell v. Gencorp Inc., 165 F.3d 778, 781 (10th Cir. 1999) (quoting Wright v.

 Willamette Indus., Inc., 91 F.3d 1105, 1106 (8th Cir. 1996)); see, e.g., McClain v. Metabolife Int’l,

 Inc., 401 F.3d 1233, 1241 (11th Cir. 2005) (holding that in toxic tort cases, “[s]cientific knowledge

 of the harmful level of exposure to a chemical plus knowledge that plaintiff was exposed to such

 quantities are minimal facts necessary to sustain the plaintiff's burden” on general causation

 (quoting Allen v. Pa. Eng’g Corp., 102 F.3d 194, 199 (5th Cir. 1996))); Bonner v. ISP Techs., Inc.,

 259 F.3d 924, 928 (8th Cir. 2001) (“[A] plaintiff must show [] that the alleged toxin is capable of

 causing injuries like that suffered by the plaintiff in human beings subjected to the same level of

 exposure as the plaintiff . . . .”).

         Dr. Terry did not even testify that each of the potentially dangerous constituents in fly ash

 were present at toxic levels. [Doc. 421, 7 Trial Tr. at 1573–75; see also id. at 1575 (Dr. Terry

 agreeing that he did not “measure[] or consider[] [the levels] of lead in fly ash because he didn’t

 have such information”). Moreover, Dr. Terry testified that he did not take into account what the

 PELs were for the various fly ash constituents as set out in the SWSHP, nor the safety levels of

 the constituents as set by OSHA. [Doc. 420, 12 Trial Tr. at 2710; id. at 2713.] Dr. Terry thus did

 not establish, as the Court found Plaintiffs were required to prove at summary judgment, “that the



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 amount of toxic constituents generally present in the fly ash at the Kingston site was capable of

 causing the complained-of diseases.” [Doc. 302 at 12–13 (emphasis added).]

        Further, Dr. Terry testified that he neither “tr[ied] to quantify” Plaintiffs’ exposure to fly

 ash [Doc. 420, 12 Trial Tr. at 2668], nor “look[ed] at exposure levels” as part of his general

 causation analysis [id. at 2704; see also id. at 2706 (Dr. Terry agreeing that he “did not try to

 quantify the evidence of exposure in this case”)]. In fact, when asked whether he had “any

 information about what the exposure levels were at the Kingston site for anybody,” Dr. Terry

 testified, “No.” [Doc. 421, 7 Trial Tr. at 1572.] In his own words, all Dr. Terry did to arrive at

 his opinion that Plaintiffs had been “significantly expose[d]” to fly ash was “look[] at the same

 photos and hear[] the same reports that have been testified to here in court.” [Id. at 2668–69.]

 This was, in other words, lay testimony. Dr. Terry’s one, hopelessly vague assertion about

 “significant exposure,” see id., could not be enough to satisfy Plaintiffs’ burden on general

 causation, even if the inquiry in this case was whether fly ash could be capable of causing

 Plaintiffs’ alleged harms.

        Plaintiffs presented absolutely no evidence connecting Jacobs’ alleged breaches to the

 actual harms they claim to have suffered. The jury was therefore left to speculate about whether

 Jacobs’ alleged conduct was capable of causing the injuries Plaintiffs claim. Because no proof of

 general causation was offered at trial, judgment must be entered in favor of Jacobs.

        C.      If the Court Denies Jacobs Judgment as a Matter of Law (or Grants Jacobs
                Judgment Only in Part), the Court Should Grant a New Trial.

        If the Court does not grant judgment in Jacobs’ favor as to Plaintiffs’ negligence claims

 entirely, the Court must grant a new trial as to any remaining issues. When considering a new trial

 motion based on the jury’s verdict being against the weight of the evidence, “the judge is free to

 weigh the evidence” and “set aside the verdict even [when] there is substantial evidence to support


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 it.” 11 Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure § 2806 (3d ed.); see

 also Bell v. Johnson, 404 F.3d 997, 1002 (6th Cir. 2005) (quoting Gasperini v. Ctr. for the

 Humanities, Inc., 518 U.S. 415, 433 (1996), and characterizing the trial court’s discretion to grant

 a new trial as “large”).

        This jury reached a “seriously erroneous” result on each of the elements of Plaintiffs’

 negligence claims presented during the Phase I trial. Strickland v. Owens Corning, 142 F.3d 353,

 357 (6th Cir. 1998) (citation omitted). First, because both the TVA-Jacobs contract and SWSHP

 left Jacobs broad discretion to carry out its remediation duties at the Site, the evidence presented

 to the jury plainly showed that Jacobs did not violate its scope of employment. See supra Section

 A. Second, because Plaintiffs presented no relevant (i.e., expert) testimony regarding Jacobs’

 alleged breaches of its professional duty of care, the evidence could not possibly have weighed in

 favor of Plaintiffs on that issue. See supra Sections B.1–B.2. Finally, Plaintiffs could only muster

 evidence to suggest that fly ash at some theoretical level—as opposed to actual levels at the Site—

 could cause some of their alleged illnesses. But that testimony decidedly does not show that

 Jacobs’ actions were capable of causing Plaintiffs’ alleged harms. As a result, the evidence clearly

 weighs in favor of Jacobs with respect to general causation, too. See supra Section B.3.

        Furthermore, if the Court enters judgment as a matter of law for Jacobs on only some of

 Plaintiffs’ theories of negligence, the verdict would need to be vacated entirely and a new trial

 ordered. The Phase I verdict form did not require the jury to identify which theory or theories

 Plaintiffs had proven. Thus, if the Court only partially grants judgment as a matter of law, there

 would be no way to know whether the jury relied on a theory or theories that had not “been

 sustained by the evidence or legally sound.” Wilburn v. Maritrans GP Inc., 139 F.3d 350, 361

 (10th Cir. 1998); see generally Jacobs’ Brief in Support of Jacobs’ Motion for a New Trial at



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 Section A. And because there is a chance the jury relied on an unviable theory, the Sixth Circuit

 requires the district court to grant judgment as a matter of law on the unviable theory or theories,

 vacate the verdict, and order a new trial on any remaining, viable theories of negligence. Loesel

 v. City of Frankenmuth, 692 F.3d 452, 467 (6th Cir. 2012); see also Wilburn, 139 F.3d at 361.

        For all these reasons, if the Court does not grant Jacobs’ renewed motion for judgment as

 a matter of law, it should exercise its discretion to order a new Phase I trial.

                                           CONCLUSION

        Plaintiffs failed as a matter of law to prove their negligence claims tried in Phase I. Jacobs

 therefore respectfully requests that judgment be entered in its favor.

                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this the 5th day of December, 2018, I have electronically filed the

 foregoing document with the Clerk of the Court using the CM/ECF system. Notice of this filing

 will be sent to all parties and counsel of record by operation of the Court’s CM/ECF system. All

 other parties will be served by regular U.S. Mail. Parties may access this filing through the Court’s

 electronic filing system.

                                                               /s/ James F. Sanders




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